                IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE

ANGELA STEWART,                          )   Case No. 3:20-cv-00679
                                         )
                       Plaintiff,        )   Judge:
                                         )
       v.                                )   Magistrate Judge:
                                         )
HEALTHCARE REVENUE                       )   FIRST AMENDED
RECOVERY GROUP, LLC,                     )   COMPLAINT AND TRIAL BY
                                         )   JURY DEMAND
                       Defendant.        )

                                NATURE OF ACTION

       1.      Plaintiff Angela Stewart (“Plaintiff”) brings this action against

Defendant Healthcare Revenue Recovery Group, LLC (“Defendant”) pursuant to

the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. and

the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227.

                             JURISDICTION AND VENUE

       2.      This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d), 28

U.S.C. § 1331, and 47 U.S.C. § 227(b)(3).

       3.      Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff reside in this district, and where Defendant transacts

business in this district.

             THE FAIR DEBT COLLECTION PRACTICES ACT

       4.      Congress enacted the FDCPA to “eliminate abusive debt collection

practices, to ensure that debt collectors who abstain from such practices are not


                                 -1-
Case 3:20-cv-00679 Document 42 Filed 03/05/21 Page 1 of 12 PageID #: 150
competitively disadvantaged, and to promote consistent state action to protect

consumers.” Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S.

573, 577 (2010) (citing 15 U.S.C. § 1692(e)).

      5.     In order to protect gullible consumers, the Sixth Circuit, “in

determining whether a statement qualifies as misleading, employs an objective,

‘least-sophisticated-consumer’ test.” Miller v. Javitch, Block & Rathbone, 561

F.3d 588, 592 (6th Cir. 2009); Smith v. Computer Credit, Inc., 167 F.3d 1052,

1054 (6th Cir. 1999) (“The least sophisticated debtor standard is ‘lower than

simply examining whether particular language would deceive or mislead a

reasonable debtor’”) (quoting Swanson v. Southern Oregon Credit Service, Inc.,

869 F.2d 1222, 1225 (9th Cir. 1988)).

      6.     “Federal courts have broadly recognized the FDCPA as a strict-

liability statute.” Gamby v. Equifax Info. Servs. LLC, 462 F. App’x 552, 556 (6th

Cir. 2012) (citing Turner v. J.V.D.B. & Assocs., Inc., 330 F.3d 991, 995 (7th Cir.

2003)).

      7.     “Structured as such, the FDCPA functions both to protect the

individual debtor and advance the declared federal interest in ‘eliminat[ing]

abusive debt collection practices.’” Stratton v. Portfolio Recovery Associates,

LLC, 770 F. 3d 443, 449 (6th Cir. 2014), as amended (Dec. 11, 2014) (quoting 15

U.S.C. § 1692(e)).




                                 -2-
Case 3:20-cv-00679 Document 42 Filed 03/05/21 Page 2 of 12 PageID #: 151
             THE TELEPHONE CONSUMER PROTECTION ACT

       8.       Congress enacted the TCPA due to widespread concern over the

invasion of privacy caused by the proliferation of automatic and prerecorded

phone calls. See Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 745, 181 L.

Ed. 2d 881 (2012).

       9.       In enacting the TCPA, Congress found that “‘unrestricted

telemarketing . . . can be an intrusive invasion of privacy.’ In particular, Congress

reported, ‘many consumers are outraged over the proliferation of intrusive

nuisance calls to their homes.’” Id. (citing S.Rep. No. 102-178, at 4-5, reprinted in

1991 U.S.C.C.A.N. at 1972).

       10.      The TCPA makes it unlawful for any person “to make any call

(other than a call made for emergency purposes or made with the prior express

consent of the called party) using any automatic telephone dialing system or an

artificial or prerecorded voice . . . to any telephone number assigned to a . . .

cellular telephone service . . . .” 47 U.S.C. § 227(b)(1)(A)(iii).

       11.      The TCPA gives a private right of action to individuals that allows

for both injunctive relief as well as monetary damages. Damages are calculated by

the greater of actual damages or $500 for each violation of the statute. 47 U.S.C. §

227(b)(3)(B).

       12.      Under the TCPA, subscribers of wireless service and customary

users of a telephone number, who are called in violation of the TCPA, have

standing to bring a TCPA suit. See Lee v. Loandepot.com, LLC, 14-CV-01084-


                                 -3-
Case 3:20-cv-00679 Document 42 Filed 03/05/21 Page 3 of 12 PageID #: 152
EFM, 2016 WL 4382786, at *4 (D. Kan. Aug. 17, 2016); In the Matter of Rules &

Regulations Implementing the Tel. Consumer Prot. Act of 1991, 30 F.C.C. Rcd.

7961 (F.C.C. 2015) (“‘called party’ is best understood to mean the subscriber to

whom the dialed wireless number is assigned because the subscriber is ‘charged

for the call’ and, along with a non-subscriber customary user, is the person whose

privacy is interrupted by unwanted calls.”).

       13.    “If the court finds that the Defendant willfully or knowingly violated

this subsection” the court may “increase the amount of the award to an amount

equal to not more than 3 times the amount available under subparagraph (B) of

this paragraph.” 47 U.S.C. § 227(b)(3)(C).

                                     PARTIES

       14.    Plaintiff is a natural person who at all relevant times resided in the

State of Tennessee, County of Sunner, and City of Gallatin.

       15.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

       16.    Defendant is an entity who at all relevant times was engaged, by use

of the mails and telephone, in the business of attempting to collect a “debt” from

Plaintiff, as defined by 15 U.S.C. § 1692a(5).

       17.    Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                          FACTUAL ALLEGATIONS

       18.    Plaintiff is a natural person allegedly obligated to pay a debt.

       19.    Plaintiff’s alleged obligation arises from a transaction in which the

money, property, insurance, or services that are the subject of the transaction were


                                 -4-
Case 3:20-cv-00679 Document 42 Filed 03/05/21 Page 4 of 12 PageID #: 153
incurred primarily for personal, family, or household purposes—namely, personal

medical services (the “Debt”).

       20.    Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts.

       21.    Defendant regularly collects or attempts to collect, directly or

indirectly, debts owed or due, or asserted to be owed or due, another.

       22.    Plaintiff is subscribed to a cellular telephone service and has been

assigned a wireless number (ending -2735) in connection with such subscription.

       23.    At no time did Defendant have Plaintiff’s prior express consent to

place calls to Plaintiff’s wireless number.

       24.    Upon information and belief, Defendant began placing telephone

calls to Plaintiff’s wireless number in or before March 2019.

       25.    Since March 2019, Defendant has left Plaintiff no less than 18

voicemails using an artificial or prerecorded voice.

       26.    Defendant placed each call to Plaintiff’s wireless number in

connection with the collection of the Debt.

       27.    Plaintiff does not owe the Debt.

       28.    Plaintiff has not received any written correspondence from

Defendant alleging that she owes the Debt.

       29.    On or about September 23, 2019, in connection with the collection

of the Debt, Defendant telephoned Plaintiff and left the following voicemail

message using an artificial or prerecorded voice:


                                 -5-
Case 3:20-cv-00679 Document 42 Filed 03/05/21 Page 5 of 12 PageID #: 154
       HRRG calling. Please return our call at 1-800-984-9115. HRRG is a debt
       collector. This is an attempt to collect a debt. Any information obtained will
       be used for that purpose. Please do not erase this message until you have
       returned our call at 1-800-984-9115. Visit us at hrrgcollections.com.

       30.     Alternatively, Defendant’s September 23, 2019 voicemail was its

initial communication to Plaintiff with respect to the Debt.

       31.     Defendant failed to provide Plaintiff with the notices required by 15

U.S.C. § 1692g(a) in an initial communication or in writing within five days

thereafter.

       32.     On or about January 25, 2020, Plaintiff answered one of Defendant’s

phone calls.

       33.     During the January 25, 2020 phone call, Defendant demanded that

Plaintiff pay the Debt.

       34.     Plaintiff advised Defendant that she did not believe she owed the

Debt and demanded that it stop calling her.

       35.     To the extent Defendant had Plaintiff’s prior express consent to

place calls to Plaintiff’s wireless number, such consent was orally revoked no later

than January 25, 2020.

       36.     Despite Plaintiff’s demand, Defendant has since placed no less than

30 calls to Plaintiff’s wireless number.

       37.     During at least 10 of these calls, Defendant delivered a voicemail

message to Plaintiff’s wireless number using an artificial or prerecorded voice.




                                 -6-
Case 3:20-cv-00679 Document 42 Filed 03/05/21 Page 6 of 12 PageID #: 155
       38.    Upon information and belief, the telephone calls identified above

were placed to Plaintiff’s wireless number using an automatic telephone dialing

system.

       39.    Upon answering Defendant’s calls, Plaintiff was required to dial “1”

before speaking with a live representative.

       40.    Defendant did not place any calls to Plaintiff’s wireless number for

emergency purposes.

       41.    Upon information and belief, Defendant voluntarily placed the calls

identified above to Plaintiff’s wireless number.

       42.    Upon information and belief, Defendant placed all calls to Plaintiff’s

wireless number under its own free will.

       43.    Upon information and belief, Defendant had knowledge that it was

using an automatic telephone dialing system, and/or an artificial or prerecorded

voice, to place each of the calls identified above.

       44.    Upon information and belief, Defendant intended to use an

automatic telephone dialing system, and/or an artificial or prerecorded voice, to

place each of the calls identified above.

       45.    Upon information and belief, Defendant maintains business records

that show all calls Defendant placed to Plaintiff’s wireless number, which may

reveal the existence of additional violations beyond those pleaded above.




                                 -7-
Case 3:20-cv-00679 Document 42 Filed 03/05/21 Page 7 of 12 PageID #: 156
                               COUNT I
                     VIOLATION OF 15 U.S.C. § 1692g(a)

      46.    Plaintiff repeats and re-alleges each factual allegation above.

      47.    A key provision of the FDCPA is § 1692g, which requires a debt

collector to send, within five days of its initial communication with a consumer, a

written notice which provides information regarding the debt and informs the

consumer of his or her right to dispute the validity of the debt within 30 days of

receipt of the notice. See 15 U.S.C. § 1692g(a).

      48.    Congress adopted “the debt validation provisions of section 1692g”

to guarantee that consumers would receive “adequate notice” of their rights under

the FDCPA. Wilson v. Quadramed Corp., 225 F.3d 350, 354 (3d Cir. 2000) (citing

Miller v. Payco–General Am. Credits, Inc., 943 F.2d 482, 484 (4th Cir. 1991)).

      49.    This validation requirement is a “significant feature” of the law that

aimed to “eliminate the recurring problem of debt collectors dunning the wrong

person or attempting to collect debts which the consumer has already paid.” See

Hernandez v. Williams, Zinman & Parham PC, 829 F.3d 1068, 1070 (9th Cir.

2016) (citing S. Rep. No. 95-382, at 4 (1977)).

      50.    “The verification provision must be interpreted to provide the

consumer with notice of how and when the debt was originally incurred or other

sufficient notice from which the consumer could sufficiently dispute the payment

obligation. This information does not have to be extensive. It should provide the




                                 -8-
Case 3:20-cv-00679 Document 42 Filed 03/05/21 Page 8 of 12 PageID #: 157
date and nature of the transaction that led to the debt . . . .” Haddad v. Alexander,

Zelmanski, Danner & Fioritto, PLLC, 758 F.3d 777, 785-86 (6th Cir. 2014).

       51.      Defendant violated 15 U.S.C. § 1692g(a) by failing to provide

Plaintiff with the notices required by 15 U.S.C. § 1692g(a), either in the initial

communication with Plaintiff, or in writing within 5 days thereafter.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692g(a);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                1692k(a)(2)(A), in the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                this action pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff pre-judgment and post-judgment interest as

                permissible by law; and

             f) Awarding such other and further relief as the Court may deem

                proper.

                                COUNT II
                     VIOLATION OF 15 U.S.C. § 1692e(2)(A)

       52.      Plaintiff repeats and re-alleges each factual allegation above.

       53.      The FDCPA creates a broad, flexible prohibition against the use of

misleading, deceptive, or false representations in the collection of debts. See 15



                                 -9-
Case 3:20-cv-00679 Document 42 Filed 03/05/21 Page 9 of 12 PageID #: 158
U.S.C. § 1692e; Hamilton v. United Healthcare of Louisiana, Inc., 310 F.3d 385,

392 (5th Cir. 2002) (citing legislative history reference to the FDCPA’s general

prohibitions which “will enable the courts, where appropriate, to proscribe other

improper conduct which is not specifically addressed”).

       54.      Included as an example of conduct that violates section 1692e is the

false representation of the character, amount, or legal status of a debt. 15 U.S.C. §

1692e(2)(A).

       55.      Defendant violated 15 U.S.C. § 1692e(2)(A) by communicating with

Plaintiff to collect a debt that Plaintiff does not owe, including by leaving Plaintiff

voicemail messages that falsely representing that Plaintiff owes the alleged Debt..

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692e(2)(A);

             b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §

                1692k(a)(2)(A), in the amount of $1,000.00;

             c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §

                1692k(a)(1);

             d) Awarding Plaintiff reasonable attorneys’ fees and costs incurred in

                this action pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiff pre-judgment and post-judgment interest as

                permissible by law; and

             f) Awarding such other and further relief as the Court may deem

                proper.


                                 -10-
Case 3:20-cv-00679 Document 42 Filed 03/05/21 Page 10 of 12 PageID #: 159
                               COUNT III
                   VIOLATION OF 47 U.S.C. § 227(b)(1)(A)(iii)

       56.      Plaintiff repeats and re-alleges each factual allegation above.

       57.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by placing

telephone calls to Plaintiff’s cellular telephone number using an automatic

telephone dialing system.

       58.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by placing

telephone calls to Plaintiff’s cellular telephone number using an artificial or pre-

recorded voice.

       59.      Defendant’s violations were willful and/or knowing in that

Defendant placed calls to Plaintiff’s wireless number using an automatic telephone

dialing system, and/or an artificial or prerecorded voice after Plaintiff told

Defendant to stop calling her.

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

             a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);

             b) Finding that Defendant’s violations of 47 U.S.C. § 227(b)(1)(A)(iii)

                were willful and/or knowing;

             c) Enjoining Defendant from placing any further telephone calls to

                Plaintiff in violation of the TCPA, pursuant to 47 U.S.C. §

                227(b)(3)(A);

             d) Awarding Plaintiff statutory damages in the amount of $500.00 per

                violation, pursuant to 47 U.S.C. § 227(b)(3)(B);



                                 -11-
Case 3:20-cv-00679 Document 42 Filed 03/05/21 Page 11 of 12 PageID #: 160
            e) Awarding Plaintiff actual damages, pursuant to 47 U.S.C. §

               227(b)(3)(B);

            f) Awarding Plaintiff treble damages, pursuant to 47 U.S.C. §

               227(b)(3);

            g) Awarding Plaintiff pre-judgment and post-judgment interest as

               permissible by law; and

            h) Awarding such other and further relief as the Court may deem just

               and proper.

                                 TRIAL BY JURY

      60.      Plaintiff is entitled to and hereby demands a trial by jury.

Dated: February 12, 2021.

                                    Respectfully submitted,

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                                 -12-
Case 3:20-cv-00679 Document 42 Filed 03/05/21 Page 12 of 12 PageID #: 161
